Case 1:17-cv-20608-JJO Document 206 Entered on FLSD Docket 08/10/2020 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            Case No. 17-20608-CIV-O'SULLIVAN

                                          [CONSENT]

  ARWIN NICOLAS ZAPATA CARRERO,

          Plaintiff,

  v.

  SANABI INVESTMENTS LLC d/b/a
  OSCAR'S MOVING & STORAGE,
  et al.,

       Defendants.
  ________________________________/

                                            ORDER

          THIS MATTER is before the Court on the Motion for Referral to Volunteer

  Attorney Program (DE# 205, 8/7/20) filed by pro se defendant Saady Bijani. Having

  reviewed the applicable filings and the law, it is

          ORDERED AND ADJUDGED that the Motion for Referral to Volunteer Attorney

  Program (DE# 205, 8/7/20) is GRANTED. This matter will be referred to the Court's

  Volunteer Attorney Program where a volunteer attorney may accept the representation

  on a pro bono basis, if so desired.

          DONE AND ORDERED in Chambers at Miami, Florida, this 10th day of August,

  2020.

                                      _____________________________________
                                      JOHN J. O'SULLIVAN
                                      CHIEF UNITED STATES MAGISTRATE JUDGE


  Copies mailed to:
  Sandy Bijani
  11255 NW 77 Terrace
  Miami, FL 33178
